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       In the United States Court of Federal Claims
                                           No. 07-613C

                                 (Filed Under Seal: July 1, 2011)

                                      Reissued: July 8, 2011 1
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                                               *
 NORTHROP GRUMMAN
 COMPUTING SYSTEMS, INC.,                      *
                                               *
                                               *
                        Plaintiff,             *
                                               *
           v.                                  *
                                               *
 THE UNITED STATES,                            *
                                               *
                        Defendant.             *
                                            _________

                                             ORDER
                                            __________

        On June 15, 2011, this court issued an opinion and order dismissing this case, under
RCFC 12(b)(1), for lack of jurisdiction. See Northrop Grumman Computing Sys., Inc. v. United
States, 2011 WL 2508241 (Fed. Cl. June 15, 2011). In that ruling, the court held that plaintiff
failed to meet a prerequisite for filing this case under the Contract Disputes Act of 1978, 41
U.S.C. § 601, et seq., by failing to reveal in the administrative claim it filed with the contracting
officer that it was sponsoring that claim on behalf of a second-level assignee. 2011 WL 2508241
at *5. On June 24, 2011, plaintiff filed a motion seeking reconsideration of this ruling. The
court deems a response to this motion unnecessary.

       To prevail on a motion for reconsideration under RCFC 59, the movant must identify a
“‘manifest error of law, or mistake of fact.’” Fru-Con Constr. Corp. v. United States, 44 Fed.
Cl. 298, 300 (1999) (quoting Bishop v. United States, 26 Cl. Ct. 281, 286 (1992), aff’d, 250 F.3d



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         An unredacted version of this order was issued, under seal, on July 1, 2011. The
parties were given an opportunity to propose redactions, but no such proposals were made.
Nevertheless, the court has corrected minor typographical and drafting errors in the original
order.
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762 (Fed. Cir. 2000)). 2 Specifically, the moving party must show: (i) an intervening change in
controlling law; (ii) the availability of previously unavailable evidence; or (iii) the necessity of
granting the motion to prevent manifest injustice. Sys. Fuels, Inc. v. United States, 79 Fed. Cl.
182, 184 (2007); Stockton E. Water Dist. v. United States, 76 Fed. Cl. 497, 499-500 (2007), aff’d,
in part, rev’d, in part, on other grounds, 573 F.3d 1344 (Fed. Cir. 2009); Griswold v. United
States, 61 Fed. Cl. 458, 460-61 (2004). The court has considerable discretion in ruling on a
motion for reconsideration. See Yuba Natural Res., Inc. v. United States, 904 F.2d 1577, 1583
(Fed. Cir. 1990); see also Banks v. United States, 84 Fed. Cl. 288, 291 (2008). Nevertheless,
granting such relief requires “a showing of extraordinary circumstances.” Caldwell v. United
States, 391 F.3d 1226, 1235 (Fed. Cir. 2004) (citation omitted), cert. denied, 546 U.S. 826
(2005); see also Alli, 86 Fed. Cl. at 34.

        In its motion, plaintiff largely reargues points that this court has already rejected. Those
arguments are no more compelling the second time around. Indeed, plaintiff appears to don
blinders to anything that contradicts its positions, including the substantial authorities cited in
this court’s ruling. For example, plaintiff asserts that the court did not cite any authority for the
proposition that an assignment invalid as against the United States is still valid as between the
assignor and assignee. Yet, plainly, this is not the case. See Northrop Grumman Computing Sys.,
2011 WL 2508241, at *6 n.12 (“Despite the impact of the Anti-Assignment Act on the rights and
obligations of the United States, the subject assignment remains enforceable as between the
parties thereto. See Segal v. Rochelle, 382 U.S. 375, 384 (1966); St. John Marine Co. v. United
States, 92 F.3d 39, 45 (2d Cir. 1996).”). Ignoring these cases does not make them go away.
Unfortunately, this is only one of several instances in which plaintiff bases its reconsideration
request on a mischaracterization of the court’s opinion and the cases cited therein. In the end,
plaintiff’s motion falls far short of demonstrating any error of law or mistake of fact in this
court’s prior opinion, let alone one that would warrant reconsideration. 3


       2
          See also Alli v. United States, 86 Fed. Cl. 33, 34 (2009); Six v. United States, 80 Fed.
Cl. 694, 697 (2008); Ammex, Inc. v. United States, 52 Fed. Cl. 555, 557 (2002), aff’d, 384 F.3d
1368 (Fed. Cir. 2004), cert. denied, 544 U.S. 948 (2005).
       3
           Plaintiff makes two “new” arguments. First, it asserts that there was no assignment
here at all – a startling claim given the dozen or more contrary statements made by plaintiff in its
briefs, not to mention the “Purchase and Assignment Agreement” plaintiff had with ESCgov that
is in the record. In claiming that its earlier statements meant otherwise, plaintiff appears to be
playing Humpty Dumpty with the record. See Through the Looking Glass, in The Complete
Works of Lewis Carroll 196 (1939). But, the court declines to go down this rabbit hole.

        There is a fictional quality to plaintiff’s second “new” argument, as well. Thus, plaintiff
contends that the various prongs of the Anti-Assignment Act do not apply here because, while it
assigned its right to payment under the contract to ESCgov, it did not assign any claim for breach
of contract damages. Yet, there is little doubt here that the rights obtained by ESCgov included
the right to obtain damages upon breach of the contract. See United States v. Winstar Corp., 518
U.S. 839, 919 (1996) (Scalia, J., concurring) (“‘The duty to keep a contract at common law
means a prediction that you must pay damages if you do not keep it . . . .’”). Certainly, there is

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        Plaintiff correctly notes that there is no prior case on all fours with this court’s ruling.
But, that is of little moment, particularly since the basic issues presented here are hardly novel.
For the reasons previously stated, the court is convinced that the result reached here represents a
logical extension of well-established principles. And plaintiff cites no case – on all fours or
otherwise – suggesting to the contrary. Of course, plaintiff could have avoided creating “new
law” on this point by simply dismissing its case without prejudice and filing a new claim with
the contracting officer that cured the prior claim’s deficiencies. The court invited plaintiff to do
so, but, for reasons that still are not apparent, plaintiff chose to litigate the matter instead – and
lost. At this point, the court sees no reason to relieve plaintiff from the adverse judgment it so
obtained.

       Based on the foregoing, plaintiff’s motion for reconsideration is hereby DENIED.

       IT IS SO ORDERED. 4


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge




no reservation in the documents here to indicate otherwise. Moreover, plaintiff cites no case
supporting the notion that the Anti-Assignment Act is inapplicable in a breach of contract action
unless the assignor specifically assigns a right to obtain damages. In fact, a phalanx of breach
cases essentially contradicts this proposition. These cases have found that an assignment
violated the Anti-Assignment Act even though it related “only” to the right to receive payments
under the contract and not specifically to the correlative right to receive damages upon a breach.
See, e.g., Brown v. United States, 524 F.2d 693 (Ct. Cl. 1976) (applying the Act in a breach case
in which payments were assigned); Produce Factors Corp. v. United States, 467 F.2d 1343 (Ct.
Cl. 1972) (same). Even if there were some merit to plaintiff’s position, it, of course, misses the
basic premise here, which is that plaintiff needed to put the contracting officer on notice of its
assignment, so that issues like those that plaintiff raises now could have been raised then.
       4
         The court intends to unseal this order after July 7, 2011. On or before July 7, 2011,
each party shall file proposed redactions to this order, with specific reasons therefor.

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